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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION
800 K Street N.W., Suite 1000
Washington, D.C. 20001,

                          Plaintiff,

             v.

DONALD J. TRUMP,                                       Case No. 1:25-cv-00935 (PLF)
President of the United States
1600 Pennsylvania Avenue N.W.
Washington, D.C. 20500, et al.,

                          Defendants.
__________________________________________________

                            JOINT STATUS REPORT

      Pursuant to the Court’s May 20, 2025 Order directing the parties to meet and

confer and to “provide proposed next steps for this litigation” and “provide a briefing

schedule for any expected motions,” the parties have conferred and jointly propose

the following:

      June 9, 2025 - Plaintiff’s motion for summary judgment;

      June 23 - Defendants’ opposition to Plaintiff’s motion and cross-motion for

summary judgment;

      July 7 - Plaintiff’s opposition to Defendants’ cross-motion for summary

judgment and reply in support of Plaintiff’s motion;

      July 17 - Defendants’ reply in support of their cross-motion for summary

judgment.
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      Argument, if any, would be up to the Court, but Plaintiff’s counsel

respectfully asks that if any is scheduled, that it not be held the week of July 21.

                                            Respectfully submitted,

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                                Assistant Branch Director
                                Civil Division, Federal Programs Branch

                                  /s/Lydia J. Jines
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                                May 22, 2025




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